                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF COLUMBIA

______________________________________
                                      )
SHARQAWI AL HAJJ (ISN 1457),          )
                                      )
                         Petitioner,  )
                                      )
                    v.                )              Civil Action No. 09-cv-745 (RCL)
                                      )
DONALD J. TRUMP, et al.,              )
                                      )
                         Respondents. )
______________________________________)
                  RESPONDENTS’ SUPPLEMENTAL STATUS REPORT

       In response to a question from the Court at the September 6, 2019 status conference,

Respondents have confirmed the statement by counsel for Petitioner that Petitioner’s expert, Dr.

Jess Ghannam, is approved to meet with a detainee; the detainee is a military commission

accused (i.e., defendant), and the meeting is in connection with the criminal case against that

detainee. Consistent with Rule for Military Commissions 703,1 resourcing for approved

witnesses, consultants, and experts, including medical experts, for an accused in the military

commissions system is provided by the Government. Dr. Ghannam, however, has not been

employed by the Government to provide expert services on the Government’s behalf or to

provide medical care for, or consult regarding provision of such care to, detainees at

Guantanamo.




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         The rules are located in Part II of the Manual for Military Commissions (2019),
available at:
https://www.mc.mil/Portals/0/pdfs/Manual%20for%20Military%20Commissions%202019%20E
dition.pdf .
September 9, 2019   Respectfully submitted,

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                    ALEXANDER K. HAAS
                    Director

                    /s/ Terry M. Henry
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